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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

KENT PRUETT

        Plaintiff,

vs.                                                  CIVIL ACTION NO. 2:13-cv-2905-JTF-dkv

SHELBY COUNTY BOARD OF
EDUCATION and DORSEY E. HOPSON,
II, in his official capacity as Superintendent of
the Shelby County Schools,

        Defendants.

                      NOTICE OF SETTLEMENT OF BILL OF COSTS

TO THE CLERK OF THE COURT:

In accordance with the instructions of the Clerk of the Court, the parties hereby provide notice

that the parties have resolved the Plaintiff’s Bill of Costs, (D.E. #23). The Defendants agree to

pay the costs sought in the Plaintiff's Bill of Costs. The parties respectfully request that the Clerk

cancel the taxation of costs hearing on May 29, 2014, (D.E. #25).

Respectfully submitted,



      s/ Nathan W. Kellum                                   s/ Cecilia S. Barnes
      Nathan W. Kellum                                      Cecilia S. Barnes
      TN BAR #13482; MS BAR # 8813                          TN Bar #17244
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